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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                               DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     )
                                             )
               v.                            )       Criminal No. 1:21-cr-380 (CKK)
                                             )
BRIAN JEFFREY RAYMOND,                       )
                                             )
                       Defendant             )

                    CONSENT MOTION TO VACATE FILING DEADLINES
                             AND SENTENCING DATES
       The United States of America, by and through the undersigned attorneys, respectfully

files this Consent Motion to Vacate Filing Deadlines and Sentencing Dates. The Government

and the defendant agree that there is good cause to vacate the upcoming filing deadlines and

dates for the evidentiary and sentencing hearings. The Government and the defendant further

agree that a status hearing is necessary to discuss a new schedule for the outstanding preliminary

sentencing matters and to ensure that the attorney conflict issue, and the defendant’s subsequent

decision to change counsel, is stated on the record. In support thereof, the government states as

follows:

   1. On October 31, 2021, the Government alerted the Court to a potential conflict issue

       relating to three of the defendant’s four attorneys. On November 2, 2021, this Court held

       a telephone conference and subsequently ordered the Government and the defendant’s

       non-conflicted counsel, John Marston, to meet with the conflicted attorneys to determine

       how to proceed. The Court appointed conflict-counsel on November 5, 2021, to advise

       the defendant as to the conflict issue. On November 17, 2021, the Government learned

       from Mr. Marston that the defendant has chosen not to waive his right to conflict-free

       counsel and has decided that Mr. Marston, along with two new attorneys (not yet

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   attorneys of record in the case), will represent him for sentencing.

2. Mr. Marston began participating in the defendant’s case in or around March 2021 and

   entered his appearance in July 2021. He is not named on the protective order provision

   pertaining to the explicit materials or the protective order pertaining to classified

   information, and he does not currently have a security clearance to view the classified

   materials in this case. To the Government’s knowledge, the two additional attorneys the

   defendant intends to retain do not have security clearances. Accordingly, the parties

   anticipate a delay to allow counsel to obtain the appropriate clearances as well as review

   the voluminous unclassified discovery in the case.

3. The Government’s psychological report is currently due on November 19, 2021. Both

   parties’ Classified Information Procedures Act (“CIPA”) motions are due on November

   22, 2021. The Presentence Report (“PSR”) is due from Probation shortly thereafter. The

   Court’s determination on CIPA issues is anticipated on or about December 21, 2021.

   Sentencing memoranda are currently due on January 7, 2021. A five-day evidentiary

   hearing is scheduled to begin on January 31, 2021, and the sentencing hearing is

   scheduled to begin immediately thereafter, on February 7, 2021. Given the expected

   delays arising from the defendant’s change in counsel, these dates are no longer viable.

   For example, the Government’s psychological expert was scheduled to evaluate the

   defendant on November 3, 2021, but the evaluation had to be canceled due to the

   unresolved attorney conflict issue. Additionally, the Government and prior cleared

   counsel had come to an informal agreement on some of the summaries and substitutions

   included in the Government’s anticipated CIPA filing. Until Mr. Marston and new

   counsel are cleared, we cannot discuss the materials to know whether those agreements


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         will stand.

      4. As noted several times throughout the proceedings in this case, the Government has a

         significant interest in scheduling new dates for the evidentiary and sentencing hearings

         that are unlikely to change. The government expects that upwards of 20 victims will

         attend the evidentiary and/or sentencing hearings, and travel logistics are therefore

         complex. More importantly, changes in the schedule tend to cause significant distress to

         the many of the victims in this case. As such, the Government recommends that the

         Court schedule a status hearing for the week of November 29 to discuss deadlines for

         some of the preliminary matters, such as the psychological report. A status hearing is

         also necessary for the defendant to state his decision regarding the attorney conflict issue

         on the record. The Government would suggest that dates for the evidentiary and

         sentencing hearings be scheduled only once there is a realistic estimate as to defense

         counsel’s security clearances and resolution of the CIPA issues.

          Wherefore, the parties respectfully request that the Court vacate all upcoming filing deadlines

and hearing dates and schedule a status hearing the week of November 29.

        Respectfully submitted this 19th day of November, 2021.

        KENNETH A. POLITE, Jr.                                    MATTHEW M. GRAVES
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